              Case: 21-5916           Document: 11-1       Filed: 10/18/2021      Page: 1                 (1 of 18)




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                     100 EAST FIFTH STREET, ROOM 540
     Deborah S. Hunt                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
         Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                      Filed: October 18, 2021


  Mr. James Robert Newsom III
  Office of the Attorney General
  of Tennessee
  500 Charlotte Avenue
  Nashville, TN 37243

  Ms. Jessica Farriis Salonus
  Salonus Firm
  139 Stonebridge Boulevard
  Jackson, TN 38305

                       Re: Case No. 21-5916, M.B., et al v. William Lee
                           Originating Case No. 3:21-cv-00317

  Dear Counsel,

     This appeal has been docketed as case number 21-5916 with the caption that is enclosed on a
  separate page. The appellate case number and caption must appear on all filings submitted to the
  Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
  district court immediately.

     Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
  Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
  registered with this court as an ECF filer, you should do so immediately. Your password for
  district court filings will not work in the appellate ECF system.

      At this stage of the appeal, the following forms should be downloaded from the web site and
  filed with the Clerk's office by November 1, 2021. Additionally, the transcript order must be
  completed by that date. For further information and instructions on ordering transcript
  electronically, please visit the court's website.

                                      Appearance of Counsel
                       Appellant:     Civil Appeal Statement of Parties & Issues
                                      Disclosure of Corporate Affiliations
                                      Application for Admission to 6th Circuit Bar (if applicable)



Case 3:21-cv-00317-JRG-DCP Document 55 Filed 10/18/21 Page 1 of 18 PageID #: 1148
              Case: 21-5916        Document: 11-1        Filed: 10/18/2021       Page: 2                 (2 of 18)




                                   Appearance of Counsel
                     Appellee:     Disclosure of Corporate Affiliations
                                   Application for Admission to 6th Circuit Bar (if applicable)

      More specific instructions are printed on each form. If appellant's initial forms are not timely
  filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
  questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                    Sincerely,

                                                    s/Gretchen S. Abruzzo
                                                    Case Manager
                                                    Direct Dial No. 513-564-7018

  cc: Ms. Colleen Elizabeth Mallea
      Mr. Reed Neal Smith

  Enclosure




Case 3:21-cv-00317-JRG-DCP Document 55 Filed 10/18/21 Page 2 of 18 PageID #: 1149
              Case: 21-5916      Document: 11-1      Filed: 10/18/2021     Page: 3            (3 of 18)




                 OFFICIAL COURT OF APPEALS CAPTION FOR 21-5916




  M.B., Parent of Minor S.B.; L.H., Parent of Minor S.B.; M.W., Parent of Minor T.W.; J.W.,
  Parent of Minor T.W.; K.P., Parent of Minor M.S.; S.K.

              Plaintiffs - Appellees

  v.

  GOVERNOR WILLIAM BYRON LEE

              Defendant - Appellant




Case 3:21-cv-00317-JRG-DCP Document 55 Filed 10/18/21 Page 3 of 18 PageID #: 1150
                Case: 21-5916          Document: 11-2              Filed: 10/18/2021       Page: 1                  (4 of 18)




                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                           AT KNOXVILLE

  S.B., a minor student, by and through his parents,           )
  M.B. and L.H. et al.,                                        )
                                                               )
          Plaintiffs,                                          )
                                                               )
  v.                                                           )        No. 3:21-CV-00317-JRG-DCP
                                                               )
  GOVERNOR BILL LEE, in his official capacity                  )
  as Governor of Tennessee, and KNOX COUNTY                    )
  BOARD OF EDUCATION,                                          )
                                                               )
          Defendants.                                          )

                               MEMORANDUM OPINION AND ORDER

          This matter is before the Court on Defendant Knox County Board of Education’s

  Amended and Restated Motion to Alter or Amend Judgment [Doc. 40], Plaintiffs’ Response in

  Opposition [Doc. 42], and the Knox County Board of Education’s Reply [Doc. 44]. For the

  reasons herein, the Court will deny the remainder of the Knox County Board of Education’s

  motion. 1

                                                  I. BACKGROUND

          On August 16, 2021, the Governor of Tennessee, Bill Lee, issued Executive Order No.

  84, which states:

          I, Bill Lee, Governor of the State of Tennessee, having declared a continuing state
          of emergency by Executive Order No. 83, dated August 6, 2021, and by virtue of
          the power and authority vested in me by the Tennessee Constitution and other
          applicable law including Tennessee Code Annotated § 58-2-107, do hereby order
          that a student’s parent or guardian shall have the right to opt out of any order or
          requirement for a student in kindergarten through twelfth-grade to wear a face
          covering at school, on a school bus, or at school functions, by affirmatively
          notifying in writing the local education agency or personnel at the student’s school.


          Last week, the Court granted the motion in part and reserved ruling on the remainder of the motion. See
          1

  [Mem. Op. & Order, Doc. 47].



Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 4
                                                           1 of 18
                                                                15 PageID #: 1151
                                                                             1133
                 Case: 21-5916            Document: 11-2            Filed: 10/18/2021           Page: 2                       (5 of 18)




  [Executive Order No. 84, Doc. 23]. Not long afterwards, the Knox County Board of Education,

  in response to the ongoing COVID-19 pandemic, met on September 1, 2021, to discuss and vote

  on a district-wide mask mandate for its school system, [Am. Compl., Doc. 7, ¶ 52], 2 which

  consists of ninety schools and 60,000 students, [Hr’g Tr. at 179:24–25, 180:1–6 (on file with the

  Court)]. 3 Approximately 8,000 of those students are disabled. [Id. at 180:7–14]. By vote of the

  board, a mask mandate had been in effect during the entirety of the previous school year, from

  August 2020 to May 2021, for all ninety schools. [Id. at 206:15–25]. But this year, during the

  board’s meeting on September 1, 2021, it decided not to renew the mask mandate by a vote of

  5 to 4, [Am. Compl. ¶ 54]—acting at odds with the guidelines of the Knox County Health

  Department, the American Academy of Pediatrics, and the Centers for Disease Control and

  Prevention (“CDC”), all of which recommend masks for all students enrolled in kindergarten

  through twelfth grade, [Dr. Yaun Decl., Doc. 9-3, ¶ 12; Hr’g Tr. at 55:21–25, 56:1, 69:5–7]. 4

           In response to the board’s vote, Plaintiffs, on the following day, brought a class-action

  lawsuit in this Court under Title II of the Americans with Disabilities Act of 1990 (“ADA”), 42

  U.S.C. § 12131 et seq., and § 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794, claiming

  they are “unable to safely attend school without increased risks of serious injury or even death,

  unlike their non-disabled peers.” [Am. Compl. ¶ 54 (emphasis in original)]. Plaintiffs allege that

  they suffer from underlying medical conditions that expose them to a likelihood of severe illness


           2
              Plaintiffs’ amended complaint is verified under 28 U.S.C. § 1746, see El Bey v. Roop, 530 F.3d 407, 414
  (6th Cir. 2008) (noting that a “verified complaint” is one that is signed under the penalty of perjury under 28 U.S.C.
  § 1746), and the Court may therefore rely on it as evidence, see Barron v. PGA Tour, Inc., 670 F. Supp. 2d 674, 677
  n.3 (W.D. Tenn. 2009) (stating that “the court may rely on facts contained in affidavits and verified complaints in
  deciding whether to issue a temporary restraining order or preliminary injunction” (citing Fed. R. Civ. P. 65(b)(1)(A))).
            3
              The Court has relied on an uncertified copy of the transcript, which it received from the court reporter
  immediately after the evidentiary hearing. It does not exactly match the line numbers and page numbers in the certified
  copy of the transcript that was recently filed in the record. The two copies are otherwise consistent with each other.
            4
              On August 11, 2021, the Knox County Board of Health recommended masking indoors regardless of
  vaccination status. [Hr’g Tr. at 69:5–7].

                                                             2

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 5
                                                           2 of 18
                                                                15 PageID #: 1152
                                                                             1134
                 Case: 21-5916           Document: 11-2           Filed: 10/18/2021          Page: 3       (6 of 18)




  or death from COVID-19, a highly transmissible and sometimes deadly virus that invades the

  body through the mouth, nose, and eyes and spreads through respiratory droplets that persons

  produce by speaking, coughing, or sneezing. [Hr’g Tr. at 51:2–25, 52:1–6, 103:8–9]. Children

  under the age of twelve are not yet eligible to receive COVID-19 vaccines, and some children

  who are old enough to receive the vaccines may have medical conditions that do not allow their

  immune systems to sufficiently respond to them. [Dr. Yaun Decl. ¶¶ 21–22].

         A ten-year-old fourth grader, Plaintiff T.W. has only one heart ventricle, a congenital

  defect that impairs his cardiovascular and immune functions, and he also suffers from epilepsy.

  [Am. Compl. ¶¶ 25–26]. He has undergone multiple open-heart surgeries. [Id. ¶¶ 25– 26]. A

  twelve-year-old sixth grader, Plaintiff M.S. suffers from “Joubert Syndrome, a rare genetic

  disorder involving brain malformation” that results in cognitive impairments. [Id. ¶¶ 22–24]. She

  is confined to a wheelchair. [Id. ¶ 24]. 5 An eight-year-old second grader, Plaintiff S.B. suffers

  from chronic lung disease, Eosinophilic Esophagitis (a chronic immune-system disease of the

  esophagus), autoimmune disease, and autism. [Id. ¶¶ 19–21]. An eleven-year-old sixth grader,

  Plaintiff M.K. has asthma and is on the Knox County School System’s “Asthma Action Plan,”

  an emergency plan. [Id. ¶¶ 27–28]. All Plaintiffs are zoned within the public school system of

  the Knox County Schools. [Id. ¶¶ 3, 6, 9, 12].

         Plaintiffs claim that the Knox County Board of Education has violated the ADA and the

  Rehabilitation Act by not providing them with a reasonable accommodation that would enable

  them—against the backdrop of the COVID-19 pandemic—to have safe and “fundamental access

  to the school building itself.” [Id. ¶ 55 (emphasis in original)]. Specifically, Plaintiffs cite an

  “urgent need” for a mask mandate inside Knox County Schools and allege the reasonable



         5
             The parties have stipulated that M.S. has now been vaccinated. [Id. at 121:8–25, 122:1–25].

                                                           3

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 6
                                                           3 of 18
                                                                15 PageID #: 1153
                                                                             1135
              Case: 21-5916        Document: 11-2        Filed: 10/18/2021      Page: 4                (7 of 18)




  accommodation “being sought in this case is community masking: protection of selves and

  others.” [Id. ¶¶ 40, 51 (emphasis in original)]. According to Plaintiffs, the Knox County Board

  of Education’s rejection of a mask mandate is placing them at an “increased risk of serious injury

  or death by not allowing a simple reasonable modification under the ADA and Rehabilitation

  Act.” [Id. ¶ 60]. Also, Plaintiffs claim that Governor Lee has violated the ADA and the

  Rehabilitation Act because, by promulgating Executive Order No. 84, he denied the Knox

  County Board of Education “the ability to provide the children with disabilities in the instant

  matter with the protections they need to attend school safely.” [Id. ¶ 68].

         Plaintiffs bring suit on behalf of all “current and future K-12 students” who are “eligible

  to attend public school in Knox County, Tennessee, during the coronavirus pandemic,” who are

  unable to receive the vaccine or unable to mount an adequate immune response to the vaccine,

  and who suffer from one or more of the following medical conditions:

         (a) lung disease, including asthma, chronic obstructive pulmonary disease (e.g.,
         bronchitis or emphysema), or other chronic conditions associated with impaired
         lung function;
         (b) heart disease, such as congenital heart disease, congestive heart failure and/or
         coronary artery disease;
         (c) chronic liver or kidney disease (including hepatitis and dialysis patients);
         (d) diabetes or other endocrine disorders;
         (e) hypertension;
         (f) compromised immune systems (such as from cancer, HIV, receipt of an organ
         or bone marrow transplant, as a side effect of medication, or other autoimmune
         disease);
         (g) blood disorders (including sickle cell disease);
         (h) inherited metabolic disorders;
         (i) history of stroke;
         (j) neurological or developmental disability (including epilepsy);
         (k) cancer or cancer treatments; and/or
         (l) muscular dystrophy or spinal cord injury.

  [Id. ¶ 58; see Dr. Yaun Decl. ¶ 18 (stating that children with these medical conditions are “more

  likely to face severe symptoms, require hospitalization, and potentially die” from COVID-19)].



                                                   4

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 7
                                                           4 of 18
                                                                15 PageID #: 1154
                                                                             1136
                 Case: 21-5916            Document: 11-2             Filed: 10/18/2021           Page: 5                       (8 of 18)




           Plaintiffs also moved the Court to issue a preliminary injunction 6 that “requir[es] Knox

  County Board of Education to enforce a mask mandate” and that “enjoin[s] Governor Lee during

  this litigation from enforcing Executive Order No. 84.” [Am. Compl. ¶ 77]. 7 Last month, the

  Court held a hearing on Plaintiffs’ motion for a preliminary injunction. The Court heard from

  several witnesses during the hearing, including Ms. Ashley Paquette, Jason Yaun, M.D., Jennifer

  Ker, M.D., Jon Rysewik, Ph.D., and Mr. Jason Myers.

           Ms. Paquette is a fifth-grade teacher in the Knox County School System and teaches at

  Farragut Intermediate School. A licensed, board-certified pediatrician, Dr. Yaun is an associate

  professor of pediatrics at the University of Tennessee Health Sciences Center and practices

  medicine with the University of Tennessee Le Bonheur Pediatric Specialists in Memphis, where

  he treats children who are infected with COVID-19. [Hr’g Tr. at 48:5–11, 49:14–16]. A licensed,

  board-certified immunologist, Dr. Ker is an assistant clinical professor of allergy, pulmonary,

  and critical-care medicine at the Vanderbilt University Medical Center and practices medicine

  in Nashville and Brentwood. [Hr’g Witness List, Doc. 25, at 2]. She also treats children who are

  infected with COVID-19 and who, in some instances, have immune systems that function poorly.

  [Hr’g Tr. at 97:13–24, 98:20–22]. Ms. Paquette, Dr. Yaun, and Dr. Ker testified on Plaintiffs’

  behalf. Dr. Rysewik and Mr. Myers appeared on the Knox County Board of Education’s behalf.

  Dr. Rysewik is the chief academic officer and assistant superintendent for Knox County Schools,

  and Mr. Myers is the executive director of student support for Knox County Schools. [Id. at

  178:21–22, 217:18–19].




           6
              In a class-action lawsuit, the Court has license to issue a class-wide preliminary injunction before ruling on
  class certification. See Gooch v. Life Investors Ins. Co. of Am., 672 F.3d 402, 433 (6th Cir. 2012) (“[T]here is nothing
  improper about a preliminary injunction preceding a ruling on class certification.”).
            7
              Plaintiffs’ amended complaint is misnumbered between pages sixteen and eighteen.

                                                              5

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 8
                                                           5 of 18
                                                                15 PageID #: 1155
                                                                             1137
              Case: 21-5916       Document: 11-2        Filed: 10/18/2021      Page: 6                  (9 of 18)




         The Court ultimately granted Plaintiffs’ motion for a preliminary injunction and ordered

  the Knox County Board of Education to enforce—with immediate effect—the mask mandate that

  was in place in all Knox County Schools during the 2020-2021 school year, as a reasonable

  accommodation under the ADA for Plaintiffs and Class Plaintiffs. [Am. Mem. Op. & Order, Doc.

  48, at 56]. The Court, however, granted the Knox County Board of Education leave to approve

  exemptions to the mask mandate under Policy C-240 [Doc. 36-2], which it created and put into

  effect during the 2020-2021 school year. The Knox County Board of Education has now filed a

  motion to alter or amend the Court’s judgment under Federal Rule of Civil Procedure 59(e). It

  maintains that relief under Rule 59(e) is appropriate because (1) newly discovered evidence

  establishes that the mask mandate is placing an undue burden on it and (2) the mask mandate

  constitutes a clear error of law. Having now carefully considered the Knox County Board of

  Education’s arguments and Plaintiffs’ response to those arguments, the Court is prepared to rule

  on the Rule 59(e) motion.

                                      II.   LEGAL STANDARD

         Rule 59(e) states that a party may file a motion to alter or amend judgment within twenty-

  eight days from the entry of judgment. See Fed. R. Civ. P. 59(e). Rule 59(e) permits the Court to

  alter or amend a judgment based on “(1) a clear error in law; (2) newly discovered evidence; (3)

  an intervening change in controlling law; or (4) a need to prevent manifest injustice.” Leisure

  Caviar, LLC v. U.S. Fish & Wildlife Serv., 616 F.3d 612, 615 (6th Cir. 2010) (quotation omitted).

  The Court has “considerable discretion” in deciding whether to grant a Rule 59(e) motion. Id.

  (citation omitted). A Rule 59(e) motion, however, “run[s] contrary” to notions of “finality and

  repose,” and it is therefore “generally discouraged” and “afford[s] relief only under extraordinary




                                                  6

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 9
                                                           6 of 18
                                                                15 PageID #: 1156
                                                                             1138
                Case: 21-5916       Document: 11-2        Filed: 10/18/2021       Page: 7                  (10 of 18)




   circumstances.” Polzin v. Barna & Co., No. 3:07-cv-127, 2007 WL 4365760, at *3 (E.D. Tenn.

   Dec. 11, 2007).

                                             III. ANALYSIS

           The Court’s order granting a preliminary injunction against the Knox County Board of

   Education is a judgment for purposes of Rule 59(e). Malam v. Adducci, 481 F. Supp. 3d 631, 636

   (E.D. Mich. 2020); see Gooch v. Life Investors Ins. Co. of Am., 672 F.3d 402, 414 n.2 (6th Cir.

   2012); Hunter v. Hamilton Cty. Bd. of Elections, 635 F.3d 219, 232 (6th Cir. 2011). The motion is

   therefore properly before the Court.

           A. Undue Burden

           The Knox County Board of Education states that it has new evidence establishing that

   the Court’s mask mandate is causing it to suffer an undue burden. See generally 28 C.F.R.

   § 35.130(b)(7)(i) (stating that “[a] public entity shall make reasonable modifications in policies,

   practices, or procedures when the modifications are necessary to avoid discrimination on the

   basis of disability, unless the public entity can demonstrate that making the modifications would

   fundamentally alter the nature of the service, program, or activity”). It believes it is suffering an

   undue burden because 700 students and 16 staff members have refused to wear masks since the

   Court’s mask mandate went into effect. [Knox Cty. Bd. of Educ.’s Mot. at 7]. Of the 16 staff

   members, 10 of them are teachers and “were sent home without pay.” [Id.]. The Knox County

   Board of Education asserts that the Court’s mask mandate has therefore “negatively impacted

   the educational rights of [some] students” and that “parental and student resistance . . . will

   continue.” [Id. at 8].

           The Knox County Board of Education, however, cites no legal grounds—statutes,

   regulations, or case law—by which the Court can determine, under the facts it now describes


                                                    7

Case
Case3:21-cv-00317-JRG-DCP
     3:21-cv-00317-JRG-DCP Document
                           Document55
                                    54 Filed
                                       Filed10/18/21
                                             10/18/21 Page
                                                      Page10
                                                           7 of
                                                             of15
                                                                18 PageID
                                                                   PageID#:
                                                                          #:1139
                                                                            1157
                  Case: 21-5916            Document: 11-2             Filed: 10/18/2021            Page: 8                       (11 of 18)




   to the Court, that the mask mandate is causing it to endure an undue administrative burden.

   See McPherson v. Kelsey, 125 F.3d 989, 995–96 (6th Cir. 1997) (“[I]ssues adverted to in a

   perfunctory manner, unaccompanied by some effort at developed argumentation, are deemed

   waived. It is not sufficient for a party to mention a possible argument in the most skeletal way,

   leaving the court to . . . put flesh on its bones.” (alteration in original) (quotation omitted))). The

   Knox County Board of Education’s failure to cite legal authority is fatal to its motion because it

   is not without grist to develop its cadaverous argument. Id. Although not precisely on point, Title

   I’s implementing regulations contain an instructive definition of the term “undue hardship,” 8 as

   it applies to the provision of a reasonable accommodation:

            (1) In general. Undue hardship means, with respect to the provision of an
            accommodation, significant difficulty or expense incurred by a covered entity,
            when considered in light of the factors set forth in paragraph (p)(2) of this section.
            (2) Factors to be considered. In determining whether an accommodation would
            impose an undue hardship on a covered entity, factors to be considered include:
            (i) The nature and net cost of the accommodation needed under this part, taking into
            consideration the availability of tax credits and deductions, and/or outside funding;
            (ii) The overall financial resources of the facility or facilities involved in the
            provision of the reasonable accommodation, the number of persons employed at
            such facility, and the effect on expenses and resources;
            (iii) The overall financial resources of the covered entity, the overall size of the
            business of the covered entity with respect to the number of its employees, and the
            number, type and location of its facilities;
            (iv) The type of operation or operations of the covered entity, including the
            composition, structure and functions of the workforce of such entity, and the
            geographic separateness and administrative or fiscal relationship of the facility or
            facilities in question to the covered entity; and



            8
               The ADA is comprised of a “tripartite structure.” Marble v. Tennessee, 767 F. App’x 647, 650 (6th Cir.
   2019). Title I protects disabled individuals from discrimination in the workplace; Title II protects their access to public
   services; and Title III protects their access to public accommodations. Id. (citing 42 U.S.C. §§ 12112, 12132, 12182).
   Plaintiffs are suing Defendants under Title II, [Am. Compl. at 1–2], but the Sixth Circuit has relied on legal principles
   under Title I as guidance for determining the outcome of cases under Title II. See McPherson v. Mich. High Sch.
   Athletic Ass’n, 119 F.3d 453, 460 (6th Cir. 1997) (“Not surprisingly, most of the law that has been made in ADA cases
   has arisen in the context of employment discrimination claims, but we have no doubt that the decisional principles of
   these cases may be applied to this case [involving Title II].”); Marble, 767 F. App’x at 651 (“We turn to [employment
   discrimination cases under Title I] because we have had fewer opportunities to address reasonable-accommodation
   claims under Title II.”).

                                                               8

Case
Case3:21-cv-00317-JRG-DCP
     3:21-cv-00317-JRG-DCP Document
                           Document55
                                    54 Filed
                                       Filed10/18/21
                                             10/18/21 Page
                                                      Page11
                                                           8 of
                                                             of15
                                                                18 PageID
                                                                   PageID#:
                                                                          #:1140
                                                                            1158
                Case: 21-5916        Document: 11-2         Filed: 10/18/2021       Page: 9                   (12 of 18)




          (v) The impact of the accommodation upon the operation of the facility, including
          the impact on the ability of other employees to perform their duties and the impact
          on the facility’s ability to conduct business.

   29 C.F.R. § 1630.2(p)(1)–(2). If the Court were to view the Knox County Board of Education’s

   argument through the prism of these provisions, the tenor of its argument would then appear to

   be that the mask mandate is causing it to suffer a loss of resources, i.e., its staff, and is leaving it

   without the ability to perform its duties.

          But the circumstances that the Knox County Board of Education has described to the

   Court do not appear to be meaningfully different from the circumstances that it envisioned and

   prepared for during last year’s voluntary mask mandate. Mr. Myers testified that last year’s

   voluntary mask mandate was a hot-button subject among parents and students, and the Knox

   County Board of Education had to contend with “argument[s]” about it. [Hr’g Tr. at 222:17–23].

   Perhaps anticipating that students, and maybe even teachers, would not comply with its mask

   mandate, it voluntarily adopted a policy under which it would send repeat offenders home. [Id.

   at 208:6–8]. So, the record establishes that the Knox County Board of Education has already

   envisioned and prepared for circumstances under which some students would not remain on

   school grounds due to their noncompliance. The evidence, therefore, does not establish that the

   Court’s mask mandate is presenting the Knox County Board of Education with a scenario that

   was foreign to it under the status quo of last year’s voluntary mask mandate.

          In addition, as Plaintiffs point out, only a fraction of students—less than one percent—

   are not currently complying with the Court’s mask mandate. [Pls.’ Resp. at 10]. The same is true

   for its staff members. Ms. Paquette testified that Farragut Intermediate has between 65 and 70

   staff members. [Hr’g Tr. at 37:22–25]. If all 90 schools in Knox County have roughly the same

   number of staff members, then the 16 staff members who are not complying with the Court’s



                                                      9

Case
Case3:21-cv-00317-JRG-DCP
     3:21-cv-00317-JRG-DCP Document
                           Document55
                                    54 Filed
                                       Filed10/18/21
                                             10/18/21 Page
                                                      Page12
                                                           9 of
                                                             of15
                                                                18 PageID
                                                                   PageID#:
                                                                          #:1141
                                                                            1159
               Case: 21-5916       Document: 11-2         Filed: 10/18/2021      Page: 10                  (13 of 18)




   mask mandate equate to less than one percent of staff members overall. While the absence of

   these staff members might burden the Knox County Board of Education to a degree, the Court

   cannot conclude that it creates an undue burden—particularly in light of the fact that the Knox

   County Board of Education already has policies and procedures in place from last year to address

   acts of noncompliance. Indeed, the Knox County Board of Education does not claim that the

   absence of such a small number of staff members has rendered it unable to carry out its daily

   functions. It does not claim that it has had to cancel school. It does not claim that it has even had

   to cancel a single class. In sum, it musters no new evidence from which the Court can conclude

   that the mask mandate, as a reasonable accommodation for Plaintiffs and Class Plaintiffs, is in

   any way causing it to grapple with a burden of undue proportions. See generally H.R. Rep. No.

   485, 101st Cong., 2d Sess., pt. II, at 69 (1990), reprinted in 1990 U.S.C.C.A.N. 303, 351 (“[T]he

   fact that an accommodation is used by only one [person] should not be used as a negative factor

   counting in favor of a finding of undue hardship.”).

          B. Clear Error of Law

          Next, the Knox County Board of Education maintains that the Court committed a clear

   error of law by issuing a preliminary injunction, but it acknowledges, and rightfully so, that it

   has “a very high bar to meet” in establishing a clear error of law. [Knox Cty. Bd. of Educ.’s Mot.

   at 8]. This Court has previously stated that a finding of clear legal error requires the “application

   of incorrect law to the facts.” Kelley v. Apria Healthcare, LLC, 232 F. Supp. 3d 983, 997 (E.D.

   Tenn. 2017) (citing Kelso v. City of Toledo, 77 F. App’x. 826, 832 (6th Cir. 2003)). Other district

   courts in this circuit have stated that a clear error of law requires “unique circumstances,” like a

   court’s “complete failure to address an issue or claim.” McBroom v. HR Dir. Franklin Cty. Bd.

   of Elections, No. 2:12-CV-1074, 2019 WL 2373749, at *1 (S.D. Ohio June 5, 2019) (quotation


                                                    10

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 13
                                                           10 of 18
                                                                 15 PageID #: 1160
                                                                              1142
               Case: 21-5916       Document: 11-2        Filed: 10/18/2021       Page: 11                  (14 of 18)




   omitted). The Knox County Board of Education, however, does not contend that the Court

   applied incorrect law to the facts or that it failed to address an issue or claim. Instead, it argues

   that the Court clearly erred in entering a preliminary injunction because the Knox County Board

   of Education “has taken no action to bar or prevent Plaintiffs from accessing [their] buildings.”

   [Knox Cty. Bd. of Educ.’s Mot. at 9].

          But the Knox County Board of Education too casually describes the issue that was before

   the Court. The issue was not access to the schools in general but safe access in light of Plaintiffs’

   unique needs. As the Court stated in its memorandum opinion and order, “the Court’s inquiry is

   whether the Knox County Board of Education—in light of the heightened lethality that COVID-

   19 poses to Plaintiffs because of their disabilities—has made reasonable modifications to its

   policies, practices, or procedures so that Plaintiffs can safely access Knox County’s public

   schools.” [Am. Mem. Op. & Order at 28]; see [Am. Compl. ¶ 54 (seeking “to safely attend school

   without increased risks of serious injury or even death, unlike their non-disabled peers”

   (emphasis in original))]. The evidence clearly demonstrated that the accommodations that the

   Knox County Board of Education had in place against COVID-19 were not reasonable because

   they were ineffective, [Am. Mem. Op. & Order at 29–33], and Rule 59(e) is not an apparatus by

   which it can now relitigate the reasonableness of those accommodations, see Sault Ste. Marie

   Tribe of Chippewa Indians v. Engler, 146 F.3d 367, 374 (6th Cir. 1998) (“A motion under Rule

   59(e) is not an opportunity to re-argue a case.” (citation omitted)); U.S. ex rel. Am. Textile Mfrs.

   Inst., Inc. v. Limited, Inc., 179 F.R.D. 541, 547 n.9 (S.D. Ohio 1998) (“FRCP 59(e) is not a means

   by which a party may re-litigate issues previously considered.” (citations omitted)).

          When considering ADA claims, federal courts have demonstrated concern over whether

   accommodations for the disabled are in fact safe. Cf., e.g., Dickinson v. York, 828 F. App’x 780,



                                                    11

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 14
                                                           11 of 18
                                                                 15 PageID #: 1161
                                                                              1143
               Case: 21-5916       Document: 11-2        Filed: 10/18/2021      Page: 12                  (15 of 18)




   781–82, 783–84 (2d Cir. 2020) (reversing summary judgment against a handicapped prisoner,

   who filed suit under the ADA and alleged that the prison’s accommodation of a standard-issue

   uniform was unsafe because he could not wear it properly and loose material would get stuck

   in his wheelchair); Medina-Rodriguez v. Fernandez Bakery, Inc., 255 F. Supp. 3d 334, 339, 343

   (D. P.R. 2017) (declining to dismiss the plaintiff’s ADA claim when the plaintiff alleged that, as

   a handicapped individual, he was unable to safely access a building because “barriers [to access]

   render[ed] the building unsafe,” exposed him to moving traffic, and “depriv[ed] him ‘of the

   meaningful choice of freely visiting the same accommodations readily available to the general

   public’”); Polansky v. Wrenn, Civil No. 12–cv–105–PB, 2012 WL 4748097, at *4 (D.N.H. Aug.

   31, 2012) (stating that a handicapped inmate had “previously asserted a cognizable claim” under

   the ADA because he alleged that the prison’s accommodation of a handicapped shower was

   “unsafe” without a safety alarm system).

          The Knox County Board of Education, later on in its Rule 59(e) motion, ultimately does

   recognize that the issue is not whether Plaintiffs “can[] physically enter [the school] buildings”

   but whether “they are at heightened risk due to COVID-19” inside the school buildings. [Knox

   Cty. Bd. of Educ.’s Mot. at 10]. While conceding the correct issue, it argues that the ADA does

   not require it to “provid[e] a 100% safe environment for its students.” [Id.]. Maybe so, but no

   one disputes this point. After all, Plaintiffs are not requesting a virus-free environment in their

   schools; rather, they are requesting a mask mandate to “mitigate the[] risk of” COVID-19, [Am.

   Compl. ¶ 37], and “mitigat[e] the transmission” of COVID-19, [Pls.’ Mem., Doc. 9-1, at 12].

   The ADA may not entitle Plaintiffs to a completely safe environment at school, but it certainly

   entitles them and Class Plaintiffs—in light of their unique needs—to an environment in which

   infections are not rising at a rate of 600 percent a day among their peers. See Wright v. N.Y. State



                                                   12

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 15
                                                           12 of 18
                                                                 15 PageID #: 1162
                                                                              1144
                Case: 21-5916       Document: 11-2        Filed: 10/18/2021       Page: 13                   (16 of 18)




   Dep’t of Corrs., 831 F.3d 64, 72 (2d Cir. 2016) (“The hallmark of a reasonable accommodation

   is effectiveness.” (quotation omitted)); see also U.S. Airways, Inc. v. Barnett, 535 U.S. 391, 400

   (2002) (“It is the word ‘accommodation,’ not the word ‘reasonable,’ that conveys the need for

   effectiveness.”); EEOC v. Ford Motor Co., 752 F.3d 634, 646 (6th Cir. 2014) (stating that an

   accommodation must be effective enough to “adequately address” a disabled individual’s “unique

   needs”)), vacated en banc on other grounds, 782 F.3d 783 (6th Cir. 2015).

           Lastly, the Knox County Board of Education regurgitates its prior argument—one that

   the Court previously addressed in detail—that it is already providing Plaintiffs with a reasonable

   accommodation in the form of virtual schooling and that a mask mandate is therefore improper.

   [Knox Cty. Bd. of Educ.’s Mot. at 9]. According to the Knox County Board of Education, the

   Court “decided that Virtual Schools, despite being identical in all respects to . . . physical schools,

   were not a reasonable [alternative] accommodation because they do not allow for in person

   interaction between staff and students[.]” [Id. at 10]. In claiming that the Court clearly erred in

   reaching this decision, the Knox County Board of Education faults it for recognizing that virtual

   schooling does not provide Plaintiffs with “face-to-face interaction with peers.” [Id.]. “[T]he

   ADA,” the Knox County Board of Education claims, “does not require face-to-face services or

   settings.” [Id.].

           The Knox County Board of Education mischaracterizes the Court’s ruling. First off, the

   Court never found that in-person schooling and virtual schooling are “identical in all respects.”

   [Id. at 9]. Rather, the Court stated that “virtual schools mimic their brick-and-mortar schools”

   in some ways but “in other ways, virtual schools have obvious differences from their brick-and-

   mortar counterparts.” [Am. Mem. Op. & Order at 36]. One of those differences is indeed that

   students enrolled in virtual schools are not physically present in the classroom with their teachers



                                                     13

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 16
                                                           13 of 18
                                                                 15 PageID #: 1163
                                                                              1145
               Case: 21-5916        Document: 11-2        Filed: 10/18/2021       Page: 14                  (17 of 18)




   and peers and do not have the opportunity to eat lunch with, go to physical education with, or

   engage in extracurricular activities with their peers. [Id.]; see generally Fry v. Napoleon Cmty.

   Schs., 137 S. Ct. 743, 756 (2017) (stating that Title II of the ADA “aim[s] to root out disability-

   based discrimination” by “enabling each covered person . . . to participate equally to all others

   in public facilities” (emphasis added)).

          The Court, however, also homed in on other key differences between brick-and-mortar

   schools and virtual schools. For instance, the Court pointed out that students enrolled in virtual

   schooling in Knox County are “required to have a caregiver” present with them. [Am. Mem. Op.

   & Order at 37]. In a sworn statement, T.W.’s mother informed the Court that both she and her

   husband work, so they have to pay a caregiver to stay with T.W. because he cannot safely be in

   school. [T.W.’s Mother’s Decl., Ex. 9-2, Doc. ¶ 6]. The fact that T.W.’s parents, and possibly

   other parents, have to pay caregivers to oversee their children so they can receive an education

   effectively converts their education from a free public education to a tuition-based education, the

   Court noted in its opinion. [Am. Mem. Op. & Order at 37]. And “perhaps most importantly in

   terms of a fact-specific analysis,” the Court wrote, students enrolled in virtual schooling “are still

   required to enter their brick-and-mortar schools despite their status as virtually enrolled students

   because the state of Tennessee does not allow them to take state tests from home.” [Id. at 37].

          After pointing out all these differences, the Court did not go on to reach the sweeping

   conclusion that the Knox County Board of Education claims that it reached—i.e., that virtual

   schooling is per se “not a reasonable [alternative] accommodation.” [Knox Cty. Bd. of Educ.’s

   Mot. at 10]. Rather, the Court concluded that “[a]ll this evidence, at a bare minimum, ‘raise[s]

   questions going to the merits so serious, substantial, difficult, and doubtful as to make them fair

   grounds for litigation’ on the issue of whether virtual schooling is a reasonable alternative



                                                    14

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 17
                                                           14 of 18
                                                                 15 PageID #: 1164
                                                                              1146
              Case: 21-5916       Document: 11-2       Filed: 10/18/2021      Page: 15                 (18 of 18)




   accommodation for Plaintiffs.” [Am. Mem. Op. & Order at 37 (quoting Six Clinics Holding

   Corp., II v. CAFCOMP Sys., 119 F.3d 393, 407 (6th Cir. 1997))]. Again, the Knox County Board

   of Education mischaracterizes the Court’s ruling and gives short shirt to all the details of its

   ruling. In sum, it identifies no cognizable basis for relief under Rule 59(e), and the Court must

   therefore deny its motion.

                                         IV.   CONCLUSION

          The Knox County Board of Education’s Amended and Restated Motion to Alter or

   Amend Judgment [Doc. 40] is DENIED to the extent that it contends it is suffering an undue

   burden and that the Court committed a clear error of law.

          So ordered.

          ENTER:


                                                       s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




                                                  15

Case 3:21-cv-00317-JRG-DCP Document 55
                                    54 Filed 10/18/21 Page 18
                                                           15 of 18
                                                                 15 PageID #: 1165
                                                                              1147
